                                                                                                           Form:def2

                                  UNITED STATES BANKRUPTCY COURT
                                        Eastern District of Michigan
                                              111 First Street
                                            Bay City, MI 48708


                                              Case No.: 20−21214−dob
                                                    Chapter: 11
In Re: (NAME OF DEBTOR(S))
   Boyce Hydro, LLC
   10120 West Flamingo Road, Ste 4 #192
   Las Vegas, NV 89147
Social Security No.:

Employer's Tax I.D. No.:
  26−0416694

                                        NOTICE OF DEFICIENT FILING

It has been determined that the following document(s) are Missing and/or Non−Compliant:

1036 − Response to (related document(s): 1021 Motion Liquidating Trustee's Motion for Entry of an Order
Disallowing Claims Without Completed Pre−Distribution Certifications) Filed by Creditors Kathleen and Mark
Chorbagian, Rex and Nancy Clark, Brooke and Jeffrey Kriebel, Eric Turnquist, Don and Teresa Turskey, Joseph and
Becky Uhelski, Duane and Brenda Whitman (Rasor, James)

is defective as indicated:

    Acceptable List of Creditors Missing
    Acceptable List of Creditors Not Uploaded
    Amended Document Missing or Non−Compliant (To be filed with Cover Sheet for Amendments in its entirety
    as one PDF)
    Application for Individuals to Pay the Filing Fee in Installments Missing or Non−Compliant
    Application to Have the Chapter 7 Filing Fee Waived Missing or Non−Compliant
    Bankruptcy Petition Cover Sheet Missing or Non−Compliant
    Bankruptcy Matter Civil Case Cover Sheet Missing
    Brief Missing
    Certificate of Exigent Circumstances−Credit Counseling Waiver Missing
    Chapter 13 Plan is Non−Compliant
    Cover Sheet for Amendments to Schedules and or Statements Missing or Non−Compliant (To be filed with
    corrected document in its entirety as one PDF)
    Docket or Proof of Claim Number Missing
    Electronic Signature does not match login
    Electronic Signature Missing or Incorrect Format ECF Procedure 11 (d)(1)
    List of 20 Largest Unsecured Creditors Missing
    Motion for Approval of Certificate of Exigent Circumstances (109)(h)(3)(A) Missing
    Motion to Convert under 11 USC 706(a)(Rule 9013) Missing
    Motion to Excuse Credit Counseling (109)(h)(4) Missing
    Notice of Objection to Claim Missing or Non−Compliant

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    Notice of Special Appearance (LBR 9010−1(c)) Missing or Non−Compliant
    Notice to Respondent Missing or Non−Compliant
    Original Signature Missing or Non−Compliant
    Petition Non−Compliant (To be filed in its entirety)
    Proof of Service Missing or Non−Compliant
    Proposed Order Missing
    Redacted Document Missing or Non−Compliant
    Statement of Attorney for Debtors 2016b LBR 9010−1c Missing or Non−Compliant
    Statement of Corporate Ownership Missing
    Statement of Petition Preparer Pursuant to F.R.Bankr.P.2016 (c) Missing
A corrected/missing document must be filed with the court within seven (7) days of this notice. If not corrected, the
case may be dismissed or an order striking the document from the record may be entered by the Court. The new
document filed should be identified as "CORRECTED".

Dated: 2/8/24
                                                                    BY THE COURT



                                                                    Todd M. Stickle , Clerk of Court
                                                                    U.S. Bankruptcy Court




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